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                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF ALASKA

                                                 )
   KLOOSTERBOER INTERNATIONAL
                                                 )
   FORWARDING LLC and ALASKA
                                                 )
   REEFER MANAGEMENT LLC,                          Case No. 3:21-cv-00198-SLG
                                                 )
                                                 )
                          Plaintiffs,
                                                 )
   vs.                                             UNITED STATES’ MOTION
                                                 )
                                                   FOR SUMMARY JUDGMENT
                                                 )
   UNITED STATES OF AMERICA, U.S.
                                                 )
   DEPARTMENT OF HOMELAND
                                                 )
   SECURITY, U.S. CUSTOMS AND
                                                 )
   BORDER PROTECTION, and TROY A.
                                                 )
   MILLER, U.S. Customs and Border
                                                 )
   Protection Acting Commissioner, in his
                                                 )
   official capacity,
                                                 )
                                                 )
                          Defendants.

                                INTRODUCTION

         The Court is familiar with the facts of this case and the parties’ prior




         Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 1 of 47
arguments. Through this motion, the Government requests that the Court rule

that Plaintiffs’ claims, also asserted as affirmative defenses to the

Government’s penalty enforcement action, are meritless as a matter of law.

Should the Court so rule, it should also dissolve the injunction.

      The Government has attempted to emphasize, and not simply repeat, its

prior arguments, which are incorporated in this motion. The Government

appreciates the opportunity to brief these issues on a somewhat less-expedited

basis. The Court entered its injunction based in part on its conclusion that

Plaintiffs had shown at least serious questions going to the merits of their

claim that U.S. Customs and Border Protection (“CBP”) violated 19 U.S.C.

§ 1625(c)(2). [Dkt. 95 at 14-15] The Government expects that after receiving

fuller briefing, the Court will conclude that this claim, and Plaintiffs’ other

claims, are all meritless.

                         FACTUAL BACKGROUND

      Defendants incorporate the facts stated in the opposition to Plaintiffs’

motion for a temporary restraining order and preliminary injunction, [Dkt. 38

at 3-12], and emphasize the following facts.

      It is common, and encouraged, for members of the trade community to

request administrative rulings from CBP under 19 C.F.R. Part 177. [AR 41-89]

CBP issues thousands of ruling letters every year. [AR 48] The purpose of
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 2 of 47


       Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 2 of 47
ruling letters “is to enable the trade to make business decisions that are

dependent on how their goods will be treated on importation.” [AR 48] CBP has

published guidance on obtaining Jones Act rulings in particular, including

instructions on how to request a ruling, what information a request should

include, and who can rely on the ruling after issuance. [AR 90-118] In the

guidance, CBP is clear that only the “requester or entities with identical

circumstances may rely on the ruling.” [AR 110 (emphasis added)]; see also

infra at 27-30.1

      The record shows that CBP has issued several ruling letters addressing

whether various manners of shipping seafood from Alaska to the eastern

United States qualify for the Third Proviso exception to the Jones Act. That is

not surprising, since, again, CBP encourages the public to request rulings, it is

a common practice, and rulings only apply to the requesters or entities with

identical circumstances.

A.    HQ 114407.

      For example, on July 23, 1998, CBP issued ruling letter HQ 114407 to

Sunmar Shipping, Inc., addressing a proposal by Sunmar to transport seafood

from Dutch Harbor to Canada (Bayside, New Brunswick or Shelburne, Nova


1 As explained infra at 30-37, the “substantially identical” statutory standard
in 19 U.S.C. § 1625(c)(2) applies to “treatment,” not ruling letters.
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 3 of 47


       Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 3 of 47
Scotia) by a foreign-flag vessel, after which the seafood would be transported

by railcars over the New Brunswick Southern Railroad (“NBSR”) to St. John,

Newfoundland, and then over the Canadian Pacific Railroad to the U.S.-

Canada border crossing at Calais, Maine, through Maine to Quebec, and then

to Albany, New York. [AR 16-19] CBP concluded that Sunmar’s proposed rail

movement met the Third Proviso’s requirement that the merchandise be

transported over through routes which are in part “over Canadian rail lines,”

because CBP determined that the statutory language “ ‘over Canadian rail

lines’ means over rail trackage in Canada.” [AR 17]

      The remainder of the ruling letter dealt with the Third Proviso’s

requirements that the route be recognized by the Interstate Commerce

Commission (“ICC”) and a rate tariff for the route be filed with the ICC, and

the effect of Congress’s having abolished the ICC and replaced it with the

Surface Transportation Board (“STB”) in 1995. [AR 18-19] CBP concluded that

notwithstanding the replacement of the ICC with the STB, which no longer

accepted rate tariffs for rail transportation, and the failure of Congress to make

conforming amendments to the Third Proviso, the Third Proviso remained in

effect and no rate tariff needed to be filed with the STB to qualify for the Third

Proviso. [AR 19]

B.    HQ 115124.
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 4 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 4 of 47
      On August 11, 2000, CBP issued ruling letter HQ 115124 to American

Seafoods Corporation (“ASC”) on a different but similar proposal to transport

seafood from Alaska to the eastern United States and rely on the Third Proviso.

[AR 20-25] ASC proposed to also transport the seafood to Bayside by a foreign-

flag vessel, and then over the NBSR. [AR 21] This time, however, the seafood

would move by truck to St. John, where it would be loaded onto railcars and

transported over the NBSR “to a subsequent Canadian rail junction located

nearer the U.S. border,” where it would be driven by truck to Calais. [AR 21]

CBP again concluded that the proposed rail movement met the applicable

Third Proviso requirement, and that no rate tariff needed to be filed for the

route. [AR 22-25]

C.    HQ 115446.

      On August 9, 2001, CBP issued ruling letter HQ 115446 to Sunmar

addressing another variation of the shipping manner. [AR 26-31] Sunmar

proposed to transport the seafood to Bayside by a foreign-flag vessel, and then

transport the seafood by truck to either McAdam, New Brunswick, or Saint

John, New Brunswick, where the seafood would be loaded onto rail cars and

transported over the NBSR either from McAdam to Saint John, or from Saint

John to McAdam, after which the seafood would be driven by truck to Calais.

[AR 27] CBP again concluded that the proposed rail movement met the
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 5 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 5 of 47
applicable Third Proviso requirement, and that no rate tariff needed to be filed

for the route. [AR 27-31]

      On January 21, 2004, CBP rejected a request by Horizon Lines, LLC, to

modify or revoke HQ 115446. [Dkt. 53-1] Among Horizon’s arguments was that

the route utilized by Sunmar was “commercially absurd and a purposeless

diversion from the ‘through’ or ‘direct’ route required by the Third Proviso.”

[Dkt. 53-1 at 5; see also Dkt. 57-1 (showing the diversion through Canada

before the seafood was transported to Calais)] CBP rejected Horizon’s

argument, concluding that “the Third Proviso does not state a ‘direct’ route

should be used, it instead uses the term ‘through’ route in part over Canadian

rail lines.” [Id.] It was in that context that CBP stated that “[t]he Third Proviso

does not have a de minimus [sic] requirement for ‘in part over Canadian rail

lines.’ ” [Id.] The claim by Horizon was that the NBSR route was unnecessarily

long, and therefore not one the Third Proviso should exempt from the Jones

Act, but CBP’s opinion was that there was no requirement in the Third Proviso

that the Canadian rail portion of the through route be as short, or as direct, as

possible (i.e., no “de minimus requirement”). It could be unnecessarily long.

CBP was not asked to opine in its ruling letter, and did not opine, whether

movement of merchandise back and forth over a specially constructed 100-foot



Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 6 of 47


       Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 6 of 47
railway would qualify as “transportation” over a “through route.” 2

D.    Horizon litigation.

      As the Court is aware, in 2006 Horizon Lines challenged CBP’s

determination that Sunmar’s NBSR route complied with the Third Proviso.

Horizon Lines, LLC. v. United States, 414 F. Supp. 2d 46, 48 (D.D.C. 2006).

Primarily at issue in that case was CBP’s conclusion whether a rate tariff filing

was required. The district court disagreed with CBP’s position that non-

coastwise-qualified private shippers did not need to file a rate tariff to qualify

for the Third Proviso, and instead held that the statute unequivocally required

that a tariff be filed. Id. at 60. The following year, CBP wrote to ASC’s attorney,

apprising him that CBP intended to “abide by the court’s decision,” and noting

that ASC had recently filed the rate tariff with the STB, which had accepted it

for filing. [Dkt. 6-15 at 1] ASC’s rate tariff filing identified the NBSR as the

Canadian rail carrier used in the transportation of frozen seafood products

from Dutch Harbor to Maine, via Bayside. [AR 170, 174]

      A collateral issue in the case was the question about the “through route”

itself. Horizon (not CBP) had argued that the Third Proviso precludes the use




2 As explained infra at 20-21, CBP has also issued ruling letters on proposals
to use Canadian rail lines in British Columba and qualify under the Third
Proviso.
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 7 of 47


       Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 7 of 47
of a “sham or commercially impractical Canadian rail movement to achieve

technical compliance with the literal terms of the statute.” Id. at 61 n.6. In

response, the district court noted in a footnote that “[i]f Congress wishes to

limit the use of the Third Proviso to specific routes or to require the STB to

evaluate the commercial soundness of a proposed route, it has the authority to

do so, but the Third Proviso as currently written contains no such

requirement.” Id.

      The district court recognized, however, that for the Third Proviso to

apply there must still be transportation of goods over a through route. Id. The

district court accepted the U.S. Supreme Court’s definition of a “through route”

as “an arrangement, express or implied, between [transportation providers] for

the continuous carriage of goods from the originating point on the line of one

carrier—to destination on the line of another.” Id. (quoting St. Louis Sw. Ry.

Co. v. United States, 245 U.S. 136, 139 n. 4 (1917)).

E.    Plaintiffs’ failure to seek a letter ruling or file a rate tariff for the
      BCR Route.

      In 2012, Kloosterboer Bayside Cold Storage (“KBB”), which is an entity

that Plaintiffs contract with to facilitate the transportation of seafood from

Alaska, ceased using the NBSR to save costs and for other business reasons,

and began using the BCR Route. [Dkt. 38 at 8-9] The BCR is located entirely

Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 8 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 8 of 47
within the Bayside port next to the cold storage facility. [Dkt. 8 ¶ 5]

      Plaintiff Kloosterboer International Forwarding LLC (“KIF”) was aware

and supportive of this change because its customers, when the NBSR was in

use, experienced difficulties in reliably providing timely delivery to end-

customers and extremely high transportation fees. [Dkt. 8 ¶ 15] No new rate

tariff was filed with the STB for the new route, and no entity sought a ruling

letter from CBP for the new, drastically different, manner of transportation.

F.    CBP’s investigation of the Plaintiffs’ use of the BCR Route.

      In April 2017, CBP’s Jones Act Division of Enforcement (JADE) received

a letter from a third party alleging potential violations of the Jones Act. [AR

166-169] The complainant asserted that ASC’s tariff filing with the STB was

inadequate for purposes of the Third Proviso because it had no expiration date,

was outdated regarding rates quoted therein, did not expressly encompass the

identified violators or their movements of merchandise, and failed to describe

the rail route or routes used. [AR 166-169] Based upon these allegations, JADE

began a review of the transportation in question, including Plaintiffs’ use of

the BCR Route. [AR 203-204]

      As part of its review, JADE obtained video and aerial photographs of the

BCR. [AR 225-226, 235-236] JADE discovered that the BCR was drastically

different from the NBSR. [AR 223-224; Dkt. 39 ¶ 5] In contrast to the NBSR,
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 9 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 9 of 47
the BCR leads nowhere, is contained entirely within the KBB facility, and

appears to have been constructed for no reason other than to move trucks

forward and back approximately 100 feet. [AR 202-237, 504]

      As such, JADE determined that the only apparent purpose for the BCR

was to circumvent the Jones Act (which Plaintiffs admit). [AR 202-237; Dkt. 47

at 11] JADE further determined that neither Plaintiffs nor any other person

involved in the operation had requested or received a ruling from CBP related

to the BCR Route. [AR 223-224] JADE also confirmed that there was no rate

tariff on file with the STB relating to the BCR Route. [AR 223-224] For all of

these reasons, JADE determined that Plaintiffs’ transportation of seafood via

the BCR Route did not meet the requirements of the Third Proviso, and that

Plaintiffs and others had violated the Jones Act. [AR 211-213, 218-222] JADE

referred the matter to internal CBP components for the initiation of a penalties

action. [AR 226-227]

      CBP’s Office of Field Operations gathered and reviewed documents

associated with each vessel involved in the BCR Route since 2017, including

bond information, entry documentation, bills of lading and other records

relating to the entities involved in the importation process for each resulting

shipment that entered the U.S. [AR 247-732] These penalty packages were

then submitted to CBP’s Penalties Branch for additional review and approval
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 10 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 10 of 47
to move forward with issuing notices of penalty. [AR 733-1314] In 2021, CBP

determined that Plaintiffs and other entities were liable to the United States

for Jones Act civil penalties equal to the appraised value of the frozen seafood

that had been transported via the BCR Route. [AR 1008-1040, 1292-1314]

      On August 9, 2021, CBP began issuing notices of penalty to parties

involved in transporting the frozen seafood in violation of the Jones Act. [AR

1315-1330] CBP issued two notices of penalty to KIF. The first notice, issued

on August 11, 2021, related to frozen seafood transported utilizing the vessel

Duncan Island, and was in the amount of $14,748,549.51. [AR 1315-1322] The

second notice, issued on August 17, 2021, related to frozen seafood transported

utilizing the vessel Green Costa Rica, and was in the amount of

$10,184,801.77. [AR 1323-1330] CBP issued numerous other notices of penalty

to entities who are not parties to this suit but which were involved in

transporting seafood via the BCR Route.

                         PROCEDURAL HISTORY

      On September 2, 2021, Plaintiffs filed the instant complaint and a

motion seeking injunctive relief related to the CBP’s issuance of the notices of

penalty. [Dkt. 1] On September 28, the Court denied Plaintiffs’ motion without

prejudice until such time as “Plaintiffs demonstrate that they have filed a rate

tariff and are diligently pursuing available remedies,” namely, a petition for
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 11 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 11 of 47
remission or mitigation of the penalties. [Dkt. 64]

      On October 1, Plaintiffs renewed their motion for injunctive relief,

asserting that they had filed the required rate tariff with the STB on

September 30, and submitted a petition relating to the notices of penalty to

CBP on October 1. [Dkt. 65]

      On October 10, the Court granted Plaintiffs’ motion, and enjoined

Defendants from issuing any new notices of penalty, or enforcing the already

issued notices, except with respect to KIF, for the pendency of this case or until

further order of the Court. [Dkt. 95 at 22-23] The Court’s injunction further

enjoins Defendants, pursuant to the constitutional tolling doctrine, from ever

issuing or enforcing any new notices of penalty relating to shipments via the

BCR Route commenced or completed during this litigation. [Dkt. 95 at 23-24]

      On October 15, the parties submitted proposed expedited briefing

schedules for cross-motions for summary judgment. [Dkt. 97 & 98] Both parties

proposed a deadline for the Government to prepare an administrative record.

Plaintiffs also proposed that they be entitled to limited discovery, without

identifying what discovery they needed to resolve the issues of law presented

by Plaintiffs’ complaint. [Dkt. 98]

      On October 20, the Court entered a scheduling order for expedited

briefing on cross-motions for summary judgment. [Dkt. 101] The Court’s order
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 12 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 12 of 47
required the Government to serve and file an administrative record by

November 15, which the Government did. [Dkt. 106] The Court also stated that

it did “not intend to preclude a request to permit extra-record discovery at some

future time if Plaintiffs are able to articulate the precise discovery they are

seeking and why they maintain it is necessary to assert their claims.” [Dkt.

101 at 1-2] Plaintiffs subsequently filed a motion to supplement the

administrative record. [Dkt. 111]

      Notwithstanding KIF’s pending petition for remission, the Government

filed an enforcement action to collect the penalties owed by KIF as a

counterclaim in this case. [Dkt. 105] On November 22, Plaintiffs filed an

answer to the Government’s counterclaim. The answer asserts as affirmative

defenses to the Government’s counterclaim all of the claims that Plaintiffs

asserted against the Government in the complaint. [Dkt. 108 Aff. Def. ¶ 6]

                                 ARGUMENT

I.    Standard and scope of review.

      For this motion the Court need only determine whether Plaintiffs’ claims

constitute valid legal defenses to CBP’s attempt to collect Jones Act penalties

from KIF. Whether the Government can establish, as a factual matter, that

KIF actually owes the penalties alleged will be determined later in this case.

      A.    Basis for Plaintiffs’ claims.
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 13 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 13 of 47
      Plaintiffs contend that the complaint “asserts constitutional and

statutory claims” that are purportedly not brought under the Administrative

Procedure Act (“APA”). [Dkt. 111 at 2] The APA provides both a cause of action

and a waiver of sovereign immunity for claims that final agency action is

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law,” or “contrary to constitutional right, power, privilege, or immunity.”

5 U.S.C. § 706(2)(A) & (B); 5 U.S.C. § 702. The Government does not contest

that a plaintiff may bring a colorable constitutional claim under certain

circumstances independent of the APA. It is not the case, however, that a

plaintiff may simply invoke the presence of “statutory” claims to evade the

ordinary mechanisms (and limitations) of APA review. See, e.g., Johnson v.

Interstate Mgmt. Co., LLC, 849 F.3d 1093, 1097 (D.C. Cir. 2017) (“If the text of

a statute does not provide a cause of action, there ordinarily is no cause of

action.”); Alexander v. Sandoval, 532 U.S. 275, 286 (2001) (“Like substantive

law itself, private rights of action to enforce federal law must be created by

Congress.”). 3


3Courts have also allowed plaintiffs to assert a claim that a government officer
acted ultra vires their statutory authority without bringing an action under
the APA. To assert such a claim, it is not sufficient for a plaintiff to assert that
the officer made an “error in the exercise of that power.” Larson v. Domestic &
Foreign Commerce Corp., 337 U.S. 682, 690 (1949). Rather, the plaintiff must
allege facts sufficient to establish that the officer was acting “without any
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 14 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 14 of 47
      The Court need not delve into these complex issues to determine the

precise basis for Plaintiffs’ claims. Now that the Government has brought a

counterclaim in this case to recover the penalties owed by KIF, the Court has

jurisdiction to decide the merits of Plaintiffs’ defenses to that counterclaim,

which raise parallel issues of law, even if those defenses are also couched as

affirmative claims for declaratory and injunctive relief.

      B.    CBP’s statutory interpretations are entitled to deference.

      Plaintiffs’ claims (or defenses) implicate CBP’s interpretation of the

Jones Act, including the Third Proviso, and 19 U.S.C. § 1625(c). An agency’s

interpretation of a statute it administers may be entitled to deference. See

United States v. Mead Corp., 533 U.S. 218, 221 (2001); Chevron, U.S.A., Inc. v.

Nat. Res. Def. Council, Inc., 467 U.S. 837, 842 (1984); Skidmore v. Swift & Co.,

323 U.S. 134, 140 (1944).

      Plaintiffs suggest that “the more deferential standard of review that may

be applicable to [APA cases]” does not apply in this case. [Dkt. 109 at 4]

Plaintiffs are mistaken. Even if Plaintiffs are raising meritless ultra vires




authority whatever,” or without any “colorable basis for the exercise of
authority.” Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 101 n. 11
(1984) (internal quotations omitted). To the extent Plaintiffs are claiming that
CBP acted ultra vires its statutory authority in issuing the notices of penalty
or pursuing an enforcement action, Plaintiffs’ claims are meritless.
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 15 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 15 of 47
claims, such deference would apply. See, e.g., New York v. Trump, 490 F. Supp.

3d 225, 241 (D.D.C. 2020) (in an action brought to enjoin an agency’s alleged

ultra vires acts, stating: “In this as in other settings, courts owe a measure of

deference to the agency’s own construction of its organic statute, but the

ultimate responsibility for determining the bounds of administrative discretion

is judicial.”) (quoting Nat’l Ass’n of Postal Sup’rs v. U.S. Postal Serv., 602 F.2d

420, 432 (D.C. Cir. 1979)). Such deference would also apply to whatever are

Plaintiffs’ so-called “statutory” claims.

      To determine whether an agency’s interpretation of a statute warrants

deference, the Court must first determine whether the statute is unambiguous

as to the question at issue. See, e.g., McMaster v. United States, 731 F.3d 881,

889 (9th Cir. 2013). If it is unambiguous, then the Court must give effect to

Congress’s intent, regardless of what the agency determined. Id.

      If, on the other hand, the statute is ambiguous, the Court must decide

how much weight to give the agency’s interpretation. Id. An agency’s

interpretation of an ambiguous statute should be accorded a high level of

deference under Chevron if “Congress delegated authority to the agency

generally to make rules carrying the force of law, and [] the agency

interpretation claiming deference was promulgated in the exercise of that

authority.” Mead, 533 U.S. at 226-27. When Chevron deference applies, the
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 16 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 16 of 47
Court should uphold an agency’s statutory interpretation if it is “based on a

permissible construction of the statute.” Chevron, 467 U.S. at 843. To the

extent there is any ambiguity in the statutes at issue in this case, CBP

interpretations embodied in regulation are entitled to Chevron deference.

      An agency statutory interpretation that does not warrant Chevron

deference may still warrant “respect proportional to its ‘power to persuade.’ ”

McMaster, 731 F.3d at 889 (quoting Mead, 533 U.S. at 235 & Skidmore, 323

U.S. at 140). When Skidmore deference applies, the Court should determine

what weight to give the agency’s interpretation based on “the thoroughness

evident in its consideration, the validity of its reasoning, its consistency with

earlier and later pronouncements, and [any other] factors which give it power

to persuade.” Id. (quoting Skidmore, 323 U.S. at 140). CBP’s statutory

interpretations set forth in ruling letters are entitled to Skidmore deference.

See Mead, 533 U.S. at 235; see also Furie Operating Alaska, LLC v. U.S. Dep't

of Homeland Sec., 2014 WL 1289581, at *6 (D. Alaska Mar. 27, 2014) (holding

that at least Skidmore deference applied to a CBP statutory interpretation

embodied in a Ruling Letter); Horizon Lines, 414 F. Supp. 2d at 54 (same).

II.   Background of the Jones Act and the Third Proviso.

      The objective of the Jones Act is to promote a domestic merchant marine,

which is “necessary for the national defense and the development of the
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 17 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 17 of 47
domestic and foreign commerce of the United States.” 46 U.S.C. § 50101(a); see

also Novak v. U.S., 795 F.3d 1012, 1016 (9th Cir. 2015) (“The purpose of the

Jones Act is to support this country’s merchant marine and its shipbuilding

and repair facilities, at least in part so they may be available in times of war

or national emergency”).

        The fundamental proscription of the Jones Act is the prohibition on

transporting merchandise by water, or by land and water, between points in

the United States, in any vessel that was not built in and documented under

U.S. law, owned by U.S. citizens, and permitted to engage in coastwise trade.

46 U.S.C. § 55102. The prohibition applies to merchandise transported either

directly or via a foreign port. Id.

        The Third Proviso, 46 U.S.C. § 55116, is an exception to that prohibition. 4

The wording of the Third Proviso has changed little since its enactment in the

Merchant Marine Act of 1920. As an exception to a fundamental tenant of the

Jones Act, the Third Proviso should be construed narrowly. [Dkt. 38 at 15]


4   The Third Proviso states:

      Section 55102 of this title does not apply to the transportation of
      merchandise between points in the continental United States, including
      Alaska, over through routes in part over Canadian rail lines and
      connecting water facilities if the routes are recognized by the Surface
      Transportation Board and rate tariffs for the routes have been filed with
      the Board.
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 18 of 47


        Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 18 of 47
      The U.S. Supreme Court has explained that the purpose of the Third

Proviso was to avoid disturbance of established routes that were recognized to

be in the public interest. As explained in the prior briefing [Dkt. 38 at 20-21],

and by the U.S. Supreme Court:

      [The exception’s] evident purpose was to avoid disturbance of
      established routes, recognized by the Interstate Commerce
      Commission as in the public interest, between the northwestern
      and eastern states through the lake ports. In these routes foreign
      owned water carriers participated as well as Canadian and
      American rail lines…. The proviso obviously would enable
      American carriers, participating in such through routes, to retain
      the benefits of the traffic which in some instances might otherwise
      be diverted to all water transportation by foreign owned vessels
      between points in Canada and the United States.

Central Vermont Transp. Co. v. Durning, 294 U.S. 33, 39 (1935).

      These established routes were commonly understood to be the “through

routes” that were intended to fall within the Third Proviso: routes operated by

different carriers but as part of a continuous journey from one coastwise point

to another, in part over the Great Lakes and in part over rail within Canadian

territory. [Dkt. 38 at 20-21] CBP has likewise historically recognized the Third

Proviso to be a “grandfather clause” intended “to avoid disturbance of

established routes … between the northwestern and eastern states through

the lake ports, using vessels which had heretofore been qualified to engage in

the coastwise trade.” [Dkt. 6-13 (Letter from Leonard Lehman, Assistant

Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 19 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 19 of 47
Commissioner, Regulations and Rulings, to The Honorable John M. Murphy,

Chairman Committee on Merchant Marine and Fisheries, House of

Representatives, dated June 27, 1978)]

III.   The United States is entitled to summary judgment on Count I.

       The Government incorporates its prior arguments that the BCR is not

part of a “through route” and does not provide for “transportation” for purposes

of the Third Proviso, and that Plaintiffs also failed to satisfy the requirements

of the Third Proviso during the time they lacked an STB filing for the BCR

Route. [Dkt. 38 at 15-23] The Government adds the following additional points.

       As explained, the Third Proviso was intended to apply to “established

routes” that served the “public interest,” not specially built rail lines that have

no purpose other than to evade the prohibitions of the Jones Act. The through

routes that CBP has approved as meeting the requirements of the Third

Proviso each used established rail lines like what was contemplated by

Congress when it enacted the Third Proviso. Those rail lines were used to move

merchandise in a continuous manner from one destination to another over

many miles. These prior rulings can be grouped into three categories.

       First, CBP has approved through routes that included merchandise

transported over rail lines operated by the NBSR and the Canadian Pacific

Railway between the Canadian rail terminals of Saint John, McAdam, and
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 20 of 47


       Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 20 of 47
Saint Stephen. Depending on which terminals the particular shipment was

moving between, these routes involved rail movements of approximately 34 to

91 miles or more. [AR 16-31; Dkt. 39 ¶ 7-8]

      Second, CBP has approved a through route that included merchandise

transported by Canadian rail from Vancouver, British Columbia, to an

unspecified location in the United States. Assuming entry to the closest U.S.

port of entry in Blaine, Washington, the movement over the Canadian rail lines

was likely a minimum distance of 16 miles and up to 40 or more miles. [AR 4-

7; Dkt. 39 ¶¶ 7, 9]

      Third, CBP has approved a through route that included ore transported

by Canadian rail from Vancouver to Montana. The exact distance of the rail

movement is not stated in the ruling letters, but the minimum distance from

Vancouver to the Montana border is approximately 470 miles. [AR 1-3, 10-12;

Dkt. 39 ¶¶ 7, 9]

      Unlike these routes, the BCR Route includes only 100 feet of track, all

within the Bayside port facility, that goes from point A to point B, then back to

point A. The BCR was constructed for no purpose other than to evade the

prohibitions of the Jones Act. It does not provide for transportation to or from

anywhere. It certainly does not provide for a “continuous carriage of goods from

the originating point on the line of one carrier—to destination on the line of
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 21 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 21 of 47
another.” St. Louis Sw. Ry., 245 U.S. at 139 n. 4. A 100-foot rail line with

pointless movement, specially constructed, is unlike anything CBP has ever

approved, and is not the kind of established rail line serving the public interest

that the Third Proviso was enacted to protect. Plaintiffs admit that the BCR

was specially built in an attempt to evade the Jones Act prohibition on using

foreign-flag vessels for domestic trade. [Dkt. 47 at 11] 5

      CBP has approved through routes involving rail movements over the

NBSR that were criticized as “commercially absurd.” But unlike the BCR, the

NBSR was an established rail line over which merchandise was transported

from one destination to another. Indeed, Plaintiffs began using the BCR Route

in order to avoid having to use the “commercially absurd” NBSR route (because

the NBSR route was too costly). In issuing the notices of penalty, CBP has not

changed its view that the Third Proviso does not have a “commercial


5 Plaintiffs make much of their allegation that the BCR is “a registered
Canadian railroad and a member of the Railway Association of Canada.” [Dkt.
1 ¶ 31; Dkt. 47 at 11] The BCR does not appear to be listed as a Federal railway
company      by    the    Canadian     Transportation     Agency.     https://otc-
cta.gc.ca/eng/federal-railway-companies The BCR appears to be registered
with the Railway Association of Canada, a trade association, as an “associate
member,” which the association describes as “either railways that operate
exclusively on industrial sites (industrial railways), or suppliers that provide
essential products and services to railways in Canada―everything from
technology, to equipment and parts, training and education, and
environmental, management, engineering and construction services.”
https://www.railcan.ca/who-we-are/rac-associate-members/
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 22 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 22 of 47
soundness” requirement. Rather, CBP determined that the inherent nature of

the BCR itself does not meet the statutory requirements of the Third Proviso.

      While importers may structure transactions for “the express purpose” of

qualifying under the customs laws, they may not escape duties “by resort to

disguise or artifice.” United States v. Citroen, 223 U.S. 407, 415 (1912); see also

Merritt v. Welsh, 104 U.S. 694, 704-05 (1881) (stating that “it might be held to

be a fraud on the revenue” if “after … sugars are manufactured, especially after

being put up in packages, coloring matter is artificially imposed,” giving the

sugars “a different color from that which belonged to them when

manufactured”). Here, Plaintiffs used foreign-flag vessels to transport seafood

from Alaska to Maine, a clear violation of the Jones Act, and are relying on an

artifice—a specially built 100-foot rail line—that they falsely claim is part of

the through route and includes transportation over Canadian rail lines.

      A.    Plaintiffs’ arguments that the BCR Route involves
            “transportation” over Canadian rail lines as part of a
            “through route” are meritless.

      Plaintiffs appear to make four arguments that the BCR is part of a

through route involving transportation over Canadian rail lines. First,

Plaintiffs argue that the BCR Route involves “transportation” of merchandise

because seafood is transported from Dutch Harbor to the eastern United

States. [Dkt. 47 at 25] Second, Plaintiffs argue that CBP has improperly
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 23 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 23 of 47
attempted to insert the term “continuous” into the text of the Third Proviso.

[Dkt. 47 at 26] Third, Plaintiffs argue that the BCR Route is a through route

because it involves intermodal transportation. [Dkt. 47 at 27] Fourth, Plaintiffs

rely on a straw man argument that the BCR Route meets the requirements of

the Third Proviso because it need not be direct or commercially sound. [Dkt.

47 at 26-30] Each argument is meritless.

      First, the fact that Plaintiffs are utilizing the BCR Route to transport

merchandise from Dutch Harbor to the eastern United States is irrelevant,

because the Third Proviso requires “transportation of merchandise … over

through routes in part over Canadian rail lines.” 46 U.S.C. § 55116. Under the

statute, the Canadian rail line must be “part” of the through route, and there

must be “transportation of merchandise” over the rail line. As Plaintiffs use

the BCR Route, merchandise is not transported “in part over Canadian rail

lines.” The movement of merchandise begins and ends at the same point. And

the BCR is not part of a through route because it does not connect to anything

or provide a “continuous carriage of goods” from one point to another. [Dkt. 38

at 15-21]

      This concept of “transportation” as requiring the movement of

merchandise from one place to another is reflected in 19 C.F.R. § 4.80b, which

provides that “a coastwise transportation of merchandise takes place, within
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 24 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 24 of 47
the meaning of the coastwise laws, when merchandise laden at a point

embraced within the coastwise laws (“coastwise point”) is unladen at another

coastwise point, regardless of the origin or ultimate destination of the

merchandise.” In ruling letters CBP has consistently held that when

movement of merchandise “begins and ends at the same coastwise point,” there

is no “transportation of merchandise between two coastwise points.” [AR 14,

37] While the regulation and rulings focus on coastwise points, the concept is

that moving an item from one place and returning it to the exact same place is

not transportation between two coastwise points under the Jones Act.

Similarly, Plaintiffs’ movement of merchandise back and forth to the same

place over the BCR is not “transportation … over Canadian rail lines.”

      Second, the concept of “continuous” transportation, which Plaintiffs

appear to concede is not present over the BCR Route [Dkt. 47 at 28], comes

from the definition of “through route” adopted by the U.S. Supreme Court and

accepted by Plaintiffs. [Dkt. 5 at 35 n.10 (quoting St. Louis Sw. Ry., 245 U.S.

at 139 n. 4)] The Court should therefore reject Plaintiffs’ argument that CBP

is improperly attempting to insert the term “continuous” into the text of the

Third Proviso.

      Third, Plaintiffs argue that the BCR Route is a through route because it

involves intermodal transportation. [Dkt. 47 at 27] Plaintiffs’ argument is
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 25 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 25 of 47
meritless. While the BCR Route involves intermodal transportation, it omits

any actual “transportation … over Canadian rail lines.”

      Fourth, Plaintiffs’ arguments about the commercial soundness of the

BCR are irrelevant. As explained, the BCR is an artifice that does not meet the

statutory requirements of the Third Proviso.

      B.    The BCR Route did not meet the requirements of the Third
            Proviso prior to Plaintiffs’ STB filing on September 30,
            2021.

      The Court was correct to conclude that Plaintiffs are not able to prove

that the BCR Route met the requirements of the Third Proviso for the time

that there was no rate tariff on file with the STB for the route, i.e., prior to

September 30, 2021. [Dkt. 64 at 16] The Government incorporates its prior

arguments on this issue. [Dkt. 38 at 21-23] Even if the Court were to find that

the BCR Route otherwise meets the requirements of the Third Proviso, the

Court should grant summary judgment and allow the Government to pursue

Jones Act penalties for merchandise transported prior to Plaintiffs’ STB filing.

IV.   The United States is entitled to summary judgment on Count II
      because CBP’s pursuit of Jones Act penalties against KIF does
      not violate 19 U.S.C. § 1625(c)(1).

      In Count II, Plaintiffs allege that CBP’s notices of penalty improperly

modified or revoked various CBP administrative rulings that had been in effect

for more than 60 days without providing notice and an opportunity to
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 26 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 26 of 47
comment. [Dkt. 1, ¶¶ 66-71] The Court correctly held that Plaintiffs “cannot

maintain a claim against CBP under subsection (c)(1) because CBP has never

issued a prior interpretative ruling with respect to the BCR Route.” [Dkt. 64

at 18-19]

      A.     There is no CBP ruling letter concerning the BCR Route for
             CBP to have modified or revoked.

      Notice and comment under subsection (c)(1) is required only when CBP

proposes a new interpretive ruling or decision that would modify or revoke a

prior interpretive ruling or decision that has been in effect for more than 60

days. Motorola v. United States, 509 F.3d 1368, 1372 (Fed. Cir. 2007). For

carrier rulings (which include Jones Act rulings), the public is on notice that

CBP will only apply the ruling “with respect to transactions involving

operations identical to those set forth in the ruling letter.” 19 C.F.R. §

177.9(b)(4); see also 19 C.F.R. § 177.9(a) (ruling letters may only “be cited as

authority    in   the   disposition   of   transactions   involving   the   same

circumstances”). Third parties to whom rulings were not issued should not

“rely on the ruling letter or assume that the principles of that ruling will be

applied in connection with any transaction other than the one described in the

letter.” 19 C.F.R. § 177.9(c).

      CBP issues ruling letters based on a detailed description of the relevant

Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 27 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 27 of 47
transaction, which determines the proper application of the customs laws. See

19 C.F.R. § 177.2(b)(1) (“Each request for a ruling must contain a complete

statement of all relevant facts relating to the transaction … and a description

of the transaction itself, appropriate in detail to the type of ruling requested”);

19 C.F.R. § 177.2(b)(2)(i) (“The Customs transaction to which the ruling

request relates must be described in sufficient detail to permit the proper

application of relevant customs and related laws”). As indicated above, there

is no CBP ruling letter addressing the BCR route itself. Plaintiffs’ argument

that CBP violated subsection (c)(1) when it issued the notices of penalty is

therefore meritless.

      B.    The Court should again reject Plaintiffs’ arguments that
            CBP violated § 1625(c)(1).

      Plaintiffs appear to make two arguments in support of their claim that

CBP violated § 1625(c)(1). First, Plaintiffs argue that the BCR Route is

indistinguishable from the NBSR except for its “shorter length.” [Dkt. 47 at 36]

Second, Plaintiffs appear to argue that the notices of penalty violate the

“rationale” in prior ruling letters that “in part over Canadian rail lines” means

“any” use of Canadian rail, and that there is no de minimis or commercial

soundness requirement in the Third Proviso. [Dkt. 47 at 36-37] Plaintiffs’

arguments are meritless.

Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 28 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 28 of 47
      As explained, subsection (c)(1) only applies when CBP proposes a

decision that would modify or revoke a prior ruling letter involving the “same

circumstances” and “identical” operations. As Plaintiffs concede, the BCR

Route involves a different rail line than any addressed in a prior ruling letter.

Prior to issuing the notices of penalty, CBP researched prior ruling letters but

found none that was identical to the BCR Route. [AR 224] Thus, the notices of

penalty did not modify or revoke any prior ruling letters.

      Moreover, Plaintiffs are incorrect that the only distinguishing fact

between the BCR Route and the routes addressed in those prior ruling letters

is the BCR’s “shorter length.” Prior to issuing the notices of penalty, and in this

litigation, CBP’s conclusion that the BCR Route does not meet the

requirements of the Third Proviso has not focused exclusively on the length of

the BCR, but rather on other factors, such as the fact that the BCR goes

nowhere. [AR 224 (“It appears as though the [BCR] … leads to nowhere (See

Video).”); Dkt. 38 at 15-21] The extremely short length of the BCR is just one

factor that supports CBP’s conclusion that the BCR goes nowhere and is not

“transportation” over a “through route.”

      For the same reasons, the Court should reject Plaintiffs’ argument that

the notices of penalty violated the “rationale” of prior ruling letters that the

Third Proviso does not have a “commercial soundness” requirement. A claim
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 29 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 29 of 47
alleging a violation of subsection (c)(1) requires a proposed decision that would

modify or revoke a prior ruling letter involving the “same circumstances” and

“identical” operations. Whether Plaintiffs think the notices of penalty violated

the “rationale” of a prior carrier ruling issued pursuant to a different set of

facts is irrelevant. In any event, in issuing the notices of penalty CBP has not

changed its view that the Third Proviso does not have a “commercial

soundness” requirement. Rather, CBP has determined that the inherent

nature of the rail operation itself does not meet the statutory requirements of

the Third Proviso.

V.    The United States is entitled to summary judgment on Count III
      because CBP’s pursuit of Jones Act penalties does not violate 19
      U.S.C. § 1625(c)(2).

      Count III alleges that prior to issuing the notices of penalty, CBP was

required to provide notice and comment under 19 U.S.C. § 1625(c)(2). Under

subsection (c)(2), notice and comment is only required before CBP issues a

ruling or decision that would modify “treatment previously accorded by [CBP]

to substantially identical transactions.” The Court previously held that

Plaintiffs made a showing of at least serious questions going to the merits of

this claim, accepting Plaintiffs’ argument that transactions authorized in

previous CBP ruling letters are substantially identical to the BCR Route

transaction. [Dkt. 64 at 19-20] The Court should grant summary judgment on
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 30 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 30 of 47
Count III in the Government’s favor for the following reasons.

      First, Plaintiffs are incorrect when they argue that ruling letters are

“treatment” for purposes of subsection (c)(2). [Dkt. 47 at 35] “Treatment” is a

legal term of art and CBP’s regulations specify what it means and how a claim

of treatment must be proven. It is well-settled that ruling letters are not

treatment.

      Second, Plaintiffs have not demonstrated that CBP accorded treatment

to any transactions to which they would compare the BCR Route transactions

that are the subject of CBP’s notices of penalty.

      Third, even if Plaintiffs could demonstrate treatment, they cannot

demonstrate treatment of transactions substantially identical to BCR Route

transactions.

      A.     Overview of 19 U.S.C. § 1625(c)(2).

      Subsection (c)(2) is meant to “ensure that the interested public has notice

of a proposed change in Customs’ policy and can modify any current practices

that were based in reliance on Customs’ earlier policy.” Am. Fiber & Finishing,

Inc. v. United States, 121 F. Supp. 3d 1273, 1286 (Ct. Int’l Trade 2015) (internal

quotation marks omitted). “Under section 1625(c)(2), CBP must follow notice

and comment procedures before it issues an ‘interpretive ruling or decision

which would . . . have the effect of modifying [a] treatment previously accorded
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 31 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 31 of 47
by [Customs] to substantially identical transactions.’” Am. Fiber, 121 F. Supp.

3d at 1279 (quoting § 1625(c)(2)).

      The CIT has identified four elements that must be established in making

a claim under subsection (c)(2):

      To establish a violation of § 1625(c)(2), [an importer] must show
      that: (1) an interpretative ruling or decision; (2) effectively
      modified; (3) a ‘treatment’ previously accorded by Customs to
      ‘substantially identical transactions’; and (4) the interpretative
      ruling or decision had not been subject to the notice and comment
      process set forth in § 1625(c)(2).

Motorola v. U.S., 462 F. Supp. 2d 1367, 1372 (Ct. Int’l Trade 2006) (citations

omitted).

      Assuming,     without   conceding,    that   penalty   notices   constitute

interpretive rulings or decisions under the statute, Plaintiffs’ subsection (c)(2)

claim fails because they cannot satisfy the second and third requirements—

and failure to meet those requirements renders the fourth requirement moot.

      CBP regulations implementing subsection (c)(2) address what an

importer must demonstrate to establish that “treatment” was previously

accorded by CBP to substantially identical transactions. 19 C.F.R. § 177.12(c)

states, in relevant part:

      (c) Treatment previously accorded to substantially identical
      transactions –

        (1) General. The issuance of an interpretive ruling that has the
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 32 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 32 of 47
        effect of modifying or revoking the treatment previously
        accorded by Customs to substantially identical transactions
        must be in accordance with the procedures set forth in
        paragraph (c)(2) of this section. The following rules will apply
        for purposes of determining under this section whether a
        treatment was previously accorded by Customs to substantially
        identical transactions of a person:

           (i) There must be evidence to establish that:

              (A) There was an actual determination by a Customs officer
              regarding the facts and issues involved in the claimed
              treatment;

              (B) The Customs officer making the actual determination
              was responsible for the subject matter on which the
              determination was made; and

              (C) Over a 2-year period immediately preceding the claim
              of treatment, Customs consistently applied that
              determination on a national basis as reflected in
              liquidations of entries or reconciliations or other Customs
              actions with respect to all or substantially all of that
              person’s Customs transactions involving materially
              identical facts and issues[.]

19 C.F.R. § 177.12(c)(1)(i)(A)-(D).

      The regulations further state that CBP will determine whether

treatment occurred on a case-by-case basis, with a focus on whether the

transactions were reviewed by CBP:

           (ii) The determination of whether the requisite treatment
           occurred will be made by Customs on a case-by-case basis and
           will involve an assessment of all relevant factors. In
           particular, Customs will focus on the past transactions to
           determine whether there was an examination of the
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 33 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 33 of 47
            merchandise (where applicable) by Customs or the extent to
            which those transactions were otherwise reviewed by
            Customs to determine the proper application of the Customs
            laws and regulations. For purposes of establishing whether
            the requisite treatment occurred, Customs will give
            diminished weight to transactions involving small quantities
            or values, and Customs will give no weight whatsoever to
            informal entries and to other entries or transactions which
            Customs, in the interest of commercial facilitation and
            accommodation, processes expeditiously and without
            examination or Customs officer review[.]

19 C.F.R. § 177.12(c)(1)(ii).

      Additionally, “Customs will not find that a treatment was accorded to a

person’s transactions if … [t]he person made a material false statement or

material omission in connection with a Customs transaction or in connection

with the review of a Customs transaction and that statement or omission

affected the determination on which the treatment claim is based[.]” 19 C.F.R.

§ 177.12(c)(1)(iii)(C).

      The regulations further specify that the burden of proof rests on the

party claiming treatment:

      The evidentiary burden as regards the existence of the previous
      treatment is on the person claiming that treatment. The evidence
      of previous treatment by Customs must include a list of all
      materially identical transactions by entry number (or other
      Customs assigned number), the quantity and value of merchandise
      covered by each transaction (where applicable), the ports of entry,
      the dates of final action by Customs, and, if known, the name and
      location of the Customs officer who made the determination on
      which the claimed treatment is based. …
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 34 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 34 of 47
19 C.F.R. § 177.12(c)(1)(iv).

      The Federal Circuit has found this regulation to be a reasonable

interpretation of the statute, and one that is entitled to deference under

Chevron. Motorola, 509 F.3d at 1371-72; Motorola, Inc. v. United States, 436

F.3d 1357, 1365-67 (Fed. Cir. 2006).

      B.    Ruling letters are not treatment.

      Plaintiffs argue that “it cannot reasonably be disputed that the Ruling

Letters constitute a ‘treatment previously accorded by the Customs Service.’”

[Dkt. 5 at 39] Plaintiffs are incorrect.

      Section 1625(c) is subdivided into two subsections: subsection (1) dealing

with instances where a prior ruling exists, and subsection (2) where there is no

prior ruling, but there is a pattern of conduct by CBP which rises to the level

of “treatment.” If, as Plaintiffs claim, ruling letters constitute treatment, there

would be no need to have a separate subsection for “treatment” in the statute.

Accordingly, courts have held that rulings—even those covering substantially

identical merchandise—are not considered when conducting a subsection (c)(2)

treatment analysis.

      For example, in the Motorola litigation the Federal Circuit held that

ruling letters do not establish a pattern of treatment, stating: “Allowing an

Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 35 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 35 of 47
importer to rely on subsection (c)(2) merely because it had secured multiple

[ruling letters] covering ‘substantially identical’ merchandise would create a

fictitious catchall in subsection (c)(2), thereby gutting the strict identity

requirement of the PRL [pre-classification ruling letter] system and rendering

subsection (c)(1) superfluous.” Motorola, 509 F.3d at 1372.

      In Motorola, the Federal Circuit affirmed the CIT’s decision, in which

the CIT agreed with CBP that “Congress intended subsections (c)(1) and (c)(2)

to have the same impact, but under different situations, the former when a

prior interpretative ruling ... has been issued, and the latter when no previous

interpretative ruling or decision has been issued.” Motorola, 462 F. Supp. 2d

at 1380. The CIT also agreed with CBP that “[r]eading subsection (c)(2) as

including interpretative rulings … would render subsection (c)(1) redundant.”

Id. at 1380. The CIT further explained that “[s]ubsection (c)(2) pertains solely

to ‘treatment’ by Customs,” which “involves a pattern of action by Customs

involving, inter alia, a sufficient degree of examination or review for

classification purposes.” Id. at 1381.

      Likewise, in Precision Specialty Metals, Inc. v. United States, the CIT

recognized that the term “treatment” is “distinct from the terms ‘ruling’ and

‘decision.’” 116 F. Supp. 2d 1350, 1043 (Ct. Int’l Trade 2000). The court noted

that “[t]he bases for relief set forth in § 1625(c)(1) and (2) exist independent of
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 36 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 36 of 47
each other.” Id. n. 25.

      Plaintiffs misconstrue the Federal Circuit’s decision in California

Industrial Products, Inc. v. U.S., 436 F.3d 1341, 1351 (Fed. Cir. 2006) in

arguing that ruling letters constitute treatment. [Dkt. 5 at 39] In California

Industrial Products, the Federal Circuit did not hold that ruling letters

constitute treatment. Rather, the court held that the term “interpretive ruling

or decision” in § 1625(c) encompasses “a protest review decision” and “a ruling

letter.” Id. at 1351. This question—whether CBP issued an “interpretive ruling

or decision”—was a threshold issue that the court needed to address before it

could examine whether such an “interpretive ruling or decision” modified the

treatment previously accorded by CBP to substantially identical transactions.

While the court found that the protest review decision and ruling letter were

an “interpretive ruling or decision,” the court did not determine that such

interpretive ruling or decision constituted treatment. Rather, the court

determined whether the interpretive ruling or decision modified the

treatment. Whether ruling letters could constitute treatment under 19 U.S.C.

§ 1625(c)(2) was not even a question before the court.

      C.    Plaintiffs have not demonstrated that CBP accorded
            treatment to any transactions to which they would
            compare the BCR Route transactions.

      Plaintiffs appear to claim that they have established treatment through
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 37 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 37 of 47
CBP’s purported approval of transactions utilizing the NBSR Route. [Dkt. 47

at 37] Plaintiffs are incorrect.

      In Motorola, the CIT rejected a similar claim. In that case, CBP had

issued ruling letters to Motorola classifying certain circuits under a duty free

tariff provision, and Motorola, relying on those ruling letters, had declared that

more than 900 entries of circuits were duty free, the majority of which CBP

liquidated duty free pursuant to its bypass procedures, i.e., without

examination or review. Motorola, 462 F. Supp. 2d at 1370. CBP then issued a

different ruling letter to Motorola declaring that the circuits were subject to a

duty. Id. Motorola contended that the subsequent ruling letter was issued

without notice and comment, and had the effect of modifying or revoking prior

treatment in violation of subsection (c)(2). Id.

      The CIT never even examined whether the subsequent ruling letter and

the prior entries involved substantially identical transactions because the

court concluded that Motorola had failed to establish that the liquidation of

those prior entries constituted treatment. Id. at 1372. Applying 19 C.F.R.

§ 177.12(c)(1)(i)(A), the court held that Motorola had failed to establish that a

CBP officer “examined or reviewed the particular entries to a sufficient enough

degree.” Id. at 1374-79. The Federal Circuit affirmed the CIT’s conclusion.

Motorola, 509 F.3d at 1372 (agreeing that “there was never an actual
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 38 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 38 of 47
examination or determination that any of these transactions” qualified under

the relevant customs schedule); see also Kent Int’l, Inc. v. U.S., 17 F. 4th 1104

(Fed. Cir. 2021) (“It is reasonable to conclude that goods which are admitted

pursuant to representations by the importer and are not independently

examined or reviewed … are not ‘treated’ by Customs.”). Motorola argued on

appeal that the prior ruling letters were themselves treatment, but, as noted,

the Federal Circuit rejected that argument. Id.

      Here, Plaintiffs have not even attempted to show that a CBP officer

actually examined any relevant transactions, much less make a determination

whether the transaction complied with the Third Proviso. Nor have they shown

that CBP consistently applied any such determinations “on a national basis”

for the “2-year period immediately preceding” the notices of penalty. 19 C.F.R.

§ 177.12(c)(1)(i)(C). Thus, Plaintiffs have not shown treatment and cannot

establish a violation of subsection (c)(2).

      To the extent Plaintiffs intend to argue that CBP accorded treatment

when it allowed trucks to enter the U.S. with the merchandise from the BCR

Route, the Court should reject that argument for several reasons. First,

allowing the trucks to enter the U.S. only demonstrated that the merchandise

(the frozen seafood) was admissible. It does not show that CBP was given an

opportunity to examine the facts of the BCR Route to determine compliance
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 39 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 39 of 47
with the Third Proviso. Plaintiffs purposefully circumvented the proper avenue

for seeking such a determination from CBP (requesting an administrative

ruling), seemingly to deprive CBP of an opportunity to examine the use of the

rail. Plaintiffs’ assertions that CBP knew about the BCR through bills of lading

is meritless because CBP does not rely upon bills of lading to provide the type

of detailed facts necessary to determine if a particular operation complies with

the Third Proviso. [Dkt. 38 at 25; Dkt. 39 ¶ 10]

      Second, even assuming there was a determination, Plaintiffs have not

shown and could not show that CBP made determinations about the BCR

Route on a “national basis.” 19 C.F.R. § 177.12(c)(1)(i)(C). The BCR exists only

in one location—the port of Bayside—and it appears that all the merchandise

which from the BCR Route comes in through a single port: Calais, Maine. [Dkt.

5 p. 7-8.] Such an isolated determination, if there even was a determination,

could never form the basis of a “treatment” claim.

      Third, even if Plaintiffs could prove all of that, their claim would still be

meritless because Plaintiffs made material omissions concerning their

transactions. See 19 C.F.R. § 177.12(c)(1)(iii)(C). It is undisputed that Plaintiffs

switched to using the BCR Route without notifying CBP that the BCR is a

specially built mini-rail track that goes nowhere. As demonstrated by this case,

that was a material omission.
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 40 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 40 of 47
      D.   Plaintiffs cannot demonstrate treatment of transactions
           “substantially identical” to the BCR Route transactions.

      This Court’s preliminary finding that the BCR appears to be

“substantially identical to other Canadian rail lines on which merchandise is

carried solely to comply with the Third Proviso” must be revisited, because it

appears to focus on the ultimate outcome—purported compliance with the

Third Proviso—rather than the unique facts of the transactions (the railways)

at issue. [Dkt. 64, p. 20] CBP’s analysis of the unique facts of any given

transaction is fundamental to whether the particular outcome will be the same,

or not, compared to either other interpretive rulings and decisions, or the

“treatment” that might have been accorded to past transactions. A change in

the underlying facts of the transaction can influence CBP’s determination of

the ultimate outcome. Even Plaintiffs appear to agree that the BCR Route is

not substantially identical to the NBSR Route as a factual matter—Plaintiffs

stopped using the NBSR Route because it was too long and expensive. [Dkt. 38

at 8-9]

      The CIT has interpreted the “substantially identical” requirement under

subsection (c)(2) as follows: “The plain meaning of the phrase ‘substantially

identical’ can be discerned from the dictionary definitions of each term. The

term ‘substantial’ is defined as ‘being of considerable importance, value,

Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 41 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 41 of 47
degree, amount or extent.’ The term ‘identical’ is defined as ‘[b]eing the same[,]

exactly equal and alike[,] [h]aving such similarity or near resemblance as to be

fundamentally equal or interchangeable.’” Motorola v. U.S., 350 F. Supp. 2d

1057, 1074 (Ct. Int’l Trade 2004) (citations omitted) (brackets in original), aff’d

in relevant part, Motorola, 436 F.3d at 1367.

      Application of the above-quoted plain meaning definition of the terms

“substantially” and “identical” demonstrates the significant differences

between the BCR and the rail lines that CBP has said meet the requirements

of the Third Proviso. To be “substantially identical,” the items must, to a

considerable degree, resemble each other “as to be fundamentally equal or

interchangeable.” Id. The specially built BCR, on which the merchandise is

moved from point A to point B and back to point A, all within the same port

facility, is clearly not equal to or interchangeable with the established rail lines

previously approved by CBP.

      In Motorola, the CIT held that the importations of four circuit models

were not substantially identical transactions to importations of other,

previously entered circuits for purposes of establishing “treatment” under

subsection (c)(2). 350 F. Supp. 2d at 1074. In making its determination, the

CIT analyzed the characteristics of the circuits at issue, which were used with

lithium-ion battery cells, and the characteristics of the other circuits, which
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 42 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 42 of 47
were used with nickel-based batteries. The CIT said:

      Although the Lithium-ion Chemistry Assemblies and the Nickel
      Assemblies may be made in much the same manner and serve
      similar purposes, the two sets of assemblies fall short of being
      identical. … Principally, one set of assemblies are used with
      lithium-ion battery cells while the others are used with nickel-
      based batteries. Consequently, Customs did not violate 19 U.S.C
      § 1625(c)(2) with respect to the Lithium-ion Chemistry
      Assemblies.

Motorola, 350 F. Supp. 2d at 1074.

      Because the circuits were not “substantially identical,” the Federal

Circuit affirmed the CIT’s decision that CBP did not violate subsection (c)(2)

by applying a Headquarters Ruling to those four circuit models and classifying

them under a different subheading than the other circuits. The Federal Circuit

held that “it was reasonable for the trial court to hold that the nickel chemistry

parts were ‘substantially identical’ to the bypass parts, but that the lithium

chemistry parts were not.” Motorola, 436 F.3d at 1368; compare California

Industrial Products, 436 F.3d at 1351 (holding that transactions were

“substantially identical” when they both were based on drawbacks for “scrap”).

      Motorola is instructive in that the CIT held that the circuits were not

“substantially identical” for the purposes of section 1625(c)(2), despite being

“made in much the same manner” and “serving similar purposes” – being used

in cell phone battery packs. Motorola, 350 F. Supp. 2d at 1060. Similar to the

Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 43 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 43 of 47
nickel and lithium circuits, which are both used in cell phone battery packs,

the BCR and the established rail lines that CBP approved in the past are rail

lines on Canadian soil that were being used in an attempt to qualify for the

Third Proviso. However, just as nickel circuits are not “substantially identical”

to lithium ones, the BCR, which is a mere 100 feet of track that goes nowhere,

created to reduce the Third Proviso to a technicality, is not “substantially

identical” to the routes which CBP approved in the past, which involved miles

of established, existing rail lines used for actual transportation of merchandise.

While superficial similarities may exist between the BCR and the rail tracks

that meet the Third Proviso, there are significant differences, such as distance,

purpose, and compliance with the fundamental tenants of the Jones Act –

including the purpose of the Third Proviso, which was to preserve existing

routes that met a need at that time which Congress was not going to disrupt.

VI.   The United States is entitled to summary judgment on Count IV.

      Count IV alleges that Plaintiffs did not have fair notice that the BCR

Route would not meet the requirements of the Third Proviso, such that

Plaintiffs were denied due process. The Court correctly rejected this claim,

holding “a person of ordinary intelligence had a reasonable opportunity to

know, especially in the wake of the Horizon litigation, that a rate tariff needed

to be filed with the STB to comply with the Third Proviso.” [Dkt. 64 at 21-22]
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 44 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 44 of 47
The Government incorporates its prior arguments on this issue. [Dkt. 38 at 27-

31]

      The Court also stated that Plaintiffs “have presented what could be

considered valid questions with respect to CBP’s interpretation of what

constitutes ‘transportation’ over a ‘through route.’ ” [Dkt. 64 at 21] However,

Plaintiffs have clarified that they are not alleging that the terms of the Third

Proviso are impermissibly vague. [Dkt. 47 at 39] Rather, Plaintiffs’ due process

claim is premised on the allegation that CBP purportedly “changed [without

notice] its more than fifteen-year-old, consistent interpretive guidance

concerning the Third Proviso.” [Dkt. 47 at 39] Thus, Plaintiffs’ clarified due

process claim appears to mirror their “statutory” claim under 19 U.S.C.

§ 1625(c)(1). which the Court correctly found to be meritless. [Dkt. 64 at 19]

VII. The Court should dismiss Count V.

      Plaintiffs agree that their Eighth Amendment claim is not ripe. [Dkt. 109

at 5] “If a claim is unripe, federal courts lack subject matter jurisdiction and

the complaint must be dismissed.” S. Pac. Transp. Co. v. City of Los Angeles,

922 F.2d 498, 502 (9th Cir. 1990). That is especially true if—as Plaintiffs

assert—their Eighth Amendment claim depends on whether and to what

extent CBP pursues enforcement actions with respect to the notices of penalty

CBP has issued, or may issue, to numerous unnamed non-parties. [Dkt. 109 at
Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 45 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 45 of 47
5 n.2] The Government has only brought an enforcement action for Jones Act

penalties related to this case against KIF, brought as a counterclaim in this

case, and the agency is presently enjoined from bringing other similar

enforcement actions.

      Moreover, Plaintiffs lack standing to assert Eighth Amendment

violations committed against numerous unnamed non-parties. See Whitmore

v. Arkansas, 495 U.S. 149, 160 (1990) (“The rights protected by the Eighth

Amendment are personal rights and only the person subject to the violation

has standing to bring suit.”).

      For all of these reasons, the Court should dismiss Count V.

VIII. The United States is entitled to summary judgment on Count VI.

      The Government incorporates all of its previous arguments about why

an injunction, especially a constitutional tolling injunction, should not have

issued in this case. [Dkt. 38 at 35-42; Dkt. 77] When and if Court determines

that Plaintiffs’ defenses to the Government’s penalty enforcement action are

meritless as a matter of law, the Court should dissolve the injunction.




Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 46 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 46 of 47
                               CONCLUSION

      For all of these reasons, the Court should grant the Government’s motion

for summary judgment and dissolve the Court’s injunction.

      RESPECTFULLY SUBMITTED this 3rd day of December 2021, in

Anchorage, Alaska.

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                                    Acting United States Attorney


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CERTIFICATE OF SERVICE
I hereby certify that on December 3, 2021,
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Kloosterboer v. United States, et al.
Case No. 3:21-cv-00198-SLG Page 47 of 47


      Case 3:21-cv-00198-SLG Document 115 Filed 12/03/21 Page 47 of 47
